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                      Stipulation Regarding Early Restoration Project--
                       Alabama Dune Restoration Cooperative Project


This Stipulation Regarding an Early Restoration Project for the Deepwater Horizon Oil Spill--
Alabama Dune Restoration Cooperative Project (“Project Stipulation” or “Stipulation”), is made
by and among BP Exploration & Production Inc. (“BPXP”), the State Trustees and Federal
Trustees as defined herein (collectively, with the United States Department of Justice, the
“Parties”) in accordance with the Framework for Early Restoration Addressing Injuries Resulting
from the Deepwater Horizon Oil Spill (“Framework Agreement”) executed April 20, 2011. This
Project Stipulation is governed by the Framework Agreement and incorporates its terms by
reference. This Project Stipulation will be effective when signed by an authorized representative
of each of the Parties.
        WHEREAS, for purposes of this Project Stipulation, the United States is acting on behalf
of the following federal trustees of natural resources: the Secretary of the United States
Department of the Interior (“DOI”), through its applicable bureaus, and the Administrator of the
National Oceanic and Atmospheric Administration (“NOAA”) (collectively “Federal Trustees”);
and
         WHEREAS, for purposes of this Project Stipulation, the States of Alabama, Florida,
Louisiana, Mississippi, and/or Texas (collectively, “States”) are acting through the following
state trustees of natural resources: for the State of Alabama, the Alabama Department of
Conservation and Natural Resources and the Geological Survey of Alabama; for the State of
Florida, the Florida Department of Environmental Protection and the Florida Fish and Wildlife
Conservation Commission; for the State of Louisiana, the Louisiana Coastal Protection and
Restoration Authority, the Louisiana Oil Spill Coordinator’s Office, the Louisiana Department of
Environmental Quality, the Louisiana Department of Wildlife and Fisheries, and the Louisiana
Department of Natural Resources; for the State of Mississippi, the Mississippi Department of
Environmental Quality; and for the State of Texas, the Texas Parks and Wildlife Department, the
Texas General Land Office, and the Texas Commission on Environmental Quality (collectively,
“State Trustees”; the State and Federal Trustees collectively are referred to as the “Trustees”);
and
        WHEREAS, on or about April 20, 2010, the mobile offshore drilling unit Deepwater
Horizon experienced an explosion, fire and subsequent sinking in the Gulf of Mexico resulting in
a release of oil into the Gulf of Mexico and response actions (“the Oil Spill”); and
        WHEREAS, the Trustees are conducting a Natural Resource Damage Assessment
(“NRDA”), as that term is defined in 15 C.F.R. § 990.30 and corresponding state law provisions,
to determine Natural Resource Damages resulting from the Oil Spill in accordance with federal
and state laws and authorities. To date, BPXP has been participating cooperatively in the NRDA
as provided under applicable laws and regulations; and
        WHEREAS, while the NRDA is continuing, the Trustees have approved the Deepwater
Horizon Oil Spill Phase I Early Restoration Plan and Environmental Assessment (“Phase I Early
Restoration Plan”), dated April 17, 2012, after public notice of the proposed plan, a reasonable
opportunity for public comments, and consideration of all comments received, which includes
the project described herein (“Early Restoration Project”); and


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         WHEREAS, the Trustees have determined that the Early Restoration Project meets the
criteria set forth in Paragraph 6 of the Framework Agreement and is consistent with section 1006
of the Oil Pollution Act, 33 U.S.C. § 2706, and the Oil Pollution Act Regulations (Natural
Resource Damage Assessments), 15 C.F.R. §§ 990 et seq.; and
        WHEREAS, all Parties agree that this Project Stipulation has been negotiated in good
faith and that it is fair, reasonable, and in the public interest;
       NOW, THEREFORE, in accordance with the Framework Agreement and in
consideration of the promises exchanged herein, the Parties hereby agree and stipulate as
follows:


  I.   RESTORATION PROJECT
   A. The Trustees have selected the Early Restoration Project set forth in Appendix A
      (including project description, estimated project budget, location, and anticipated
      schedule), attached hereto and incorporated by reference, as an appropriate restoration
      project to address natural resource injuries resulting from the Oil Spill. On December 15,
      2011, the Trustees published for public notice and comment a draft Phase I Early
      Restoration Plan that included the Early Restoration Project. On April 17, 2012, after
      considering all public comments received on the draft plan, the Trustees adopted a final
      Phase I Early Restoration Plan that included the Early Restoration Project. The final
      Phase I Early Restoration Plan (along with supporting documentation) is available
      publicly as described in Appendix B.
    B. The Parties agree that the Early Restoration Project is consistent with section 1006 of the
       Oil Pollution Act, 33 U.S.C. § 2706, and the Oil Pollution Act Regulations (Natural
       Resource Damage Assessments), 15 C.F.R. §§ 990 et seq., is in the public interest and
       meets all of the following criteria:
          i.   contributes to making the environment and the public whole by restoring,
               rehabilitating, replacing, or acquiring the equivalent of natural resources or
               services injured as a result of the Oil Spill, or compensating for interim losses
               resulting from the Oil Spill;
         ii.   addresses one or more specific injuries to natural resources or services associated
               with the Oil Spill;
        iii.   seeks to restore natural resources, habitats or natural resource services of the same
               type, quality, and of comparable ecological and/or human use value to
               compensate for identified resource and service losses resulting from the Oil Spill;
        iv.    is not inconsistent with the anticipated long-term restoration needs and anticipated
               final restoration plan; and
         v.    is feasible and cost effective.
   C. The Early Restoration Project shall be implemented by the following Trustee(s): the
      United States Fish and Wildlife Service on behalf of the United States Department of the
      Interior (“implementing Trustee(s)”).




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  D. The implementing Trustee(s) shall provide quarterly status reports on the Early
     Restoration Project to all Parties describing the progress on project implementation
     during each period (including a summary of costs expended during that quarter), until the
     implementing Trustee(s) has completed construction of the project, or until the NRD case
     is concluded by a judicially approved consent decree or final judgment resolving BPXP’s
     potential liability for natural resource damages resulting from the Oil Spill, whichever
     comes first. The first status report shall be due within ninety (90) days of filing of this
     Project Stipulation. Once the implementing Trustee(s) completes construction of the
     Early Restoration Project, the implementing Trustee(s) shall provide annual status reports
     on the Early Restoration Project to all Parties describing the status of and any changes to
     the Early Restoration Project during each period. The Trustees may group multiple Early
     Restoration Projects in a single report.
  E. All Parties shall also have the right to observe or inspect the implementation of the Early
     Restoration Project to the greatest extent practicable based on the design of the project,
     site conditions, and any legal limitations on access controlled by third parties. In
     addition, BPXP shall have the further right to access and copy final design, permitting,
     oversight and monitoring data, and reports that are collected or generated for the Early
     Restoration Project. All such data and reports shall be available to BPXP, after
     applicable quality assurance/quality control, and may be incorporated into the
     Administrative Record for the Deepwater Horizon Natural Resource Damage Assessment
     at the discretion of the Trustees in accordance with the Oil Pollution Act, 33 U.S.C. §§
     2701, and the Oil Pollution Act Regulations (Natural Resource Damage Assessments), 15
     C.F.R. §§ 990 et seq.
  F. Prior to signing this Project Stipulation, the implementing Trustee(s) coordinated with the
     Federal On-Scene Coordinator (FOSC) to ensure that the Early Restoration Project will
     not obstruct, duplicate or conflict with any ongoing response actions, and ongoing
     response actions, if any, will not obstruct, duplicate or conflict with the Early Restoration
     Project.


II.   FUNDING FOR PROJECTS IMPLEMENTED BY ONE OR MORE TRUSTEES
  A. BPXP shall provide funding in the amount of $ 1,300,000 for the Early Restoration
     Project in accordance with Paragraphs II.C. and II.D. below, absent the entry of a judicial
     stay or other court order that prevents project implementation or otherwise affects the
     terms of this Project Stipulation. All funds provided to any Trustee under this Stipulation
     shall be paid and deposited in accordance with the instructions provided by the
     implementing Trustee(s) pursuant to Paragraphs II.C. and II.D. below.
  B. The Trustees shall use the funds paid under this Stipulation only for implementation of
     the Early Restoration Project, including oversight, monitoring, corrective actions, and any
     agreed upon contingencies, except as provided in Paragraphs II.F. and II.G. An estimated
     budget for the Early Restoration Project is set forth in Appendix A.
  C. Initial Payment: Within thirty (30) days of the filing of this Project Stipulation or receipt
     of written payment instructions from the implementing Trustee(s), whichever is later,
     BPXP shall cause the transfer of 25% of the amount specified in Paragraph II.A. from the



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         Early Restoration Subaccount1 to the account or accounts and in the manner designated in
         the payment instructions.

    D. Additional Payments: The remaining 75% of the amount specified in Paragraph II.A.
       shall be paid from the Early Restoration Subaccount as follows:
            i.    The implementing Trustee(s) elects to perform this Early Restoration Project with
                  the use of contractor(s) and/or co-operator(s). Unless other payment
                  arrangements are specified in Appendix A, BPXP shall transfer 25% of the
                  amount specified in Paragraph II.A. from the Early Restoration Subaccount to the
                  account or accounts designated by the implementing Trustee(s) within fifteen (15)
                  days after the date that BPXP receives written notice from the implementing
                  Trustee(s) of issuance of a Request for Proposal, or other appropriate applicable
                  procurement mechanism, or within sixty (60) days of the filing of this Project
                  Stipulation, whichever is later; such notice shall include written payment
                  instructions. BPXP shall transfer the remaining 50% of the amount specified in
                  Paragraph II.A. from the Early Restoration Subaccount to the account or accounts
                  designated in the payment instructions within fifteen (15) days of notice to BPXP
                  of the selection of a contractor but before award of a contract to implement the
                  Early Restoration Project, or within seventy-five (75) days of the filing of this
                  Project Stipulation, whichever is later.
    E. In addition to the amount specified in Paragraph A of this section, BPXP shall make
       available contingency funding from the Early Restoration Subaccount of up to $180,000
       for the Early Restoration Project, as provided herein (“Contingency Funding”).
       Contingency Funding shall only be used for the Early Restoration Project and shall only
       be used to pay for actual cost overruns, performance monitoring, adaptive management,
       corrective actions and other implementation costs that are within the scope of the Early
       Restoration Project. If the implementing Trustee(s) believes that Contingency Funding
       will be required, such Trustee shall provide to BPXP a statement, together with
       supporting materials, demonstrating that the funds received pursuant to Paragraph A of
       this section have been expended for the Early Restoration Project. Such a statement shall
       also include an explanation of the need, the amount of funds requested from the
       Contingency Funding, and a detailed description of the proposed work activities. BPXP
       shall pay the implementing Trustee(s) for such Contingency Funding, up to a maximum
       amount of $180,000 within 30 days of receipt of the statement.
    F. Any and all funds transferred pursuant to Paragraph 5 of the Framework Agreement and
       Paragraphs II.C. and II.D. of this Project Stipulation, along with any accrued interest, that
       have not been spent and remain unobligated after the implementing Trustee(s) has
       completed the Early Restoration Project, including all performance monitoring and
       corrective actions, shall be retained by the Trustees. Such funds may only be used by the
       implementing Trustee(s) for another restoration project agreed to by all Trustees,
       provided, however, that such funds may not be used for another project unless and until

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  The Early Restoration Subaccount means the separate subaccount within the Deepwater Horizon Oil Spill Trust, the private
trust previously established by BPXP that was created and holds the $1 billion BPXP committed toward early restoration
projects, as required by the terms of the Framework Agreement.




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       the implementing Trustee(s) has confirmed in writing that the Early Restoration Project is
       complete and no funding pursuant to Paragraph II.E. will be required. BPXP shall not be
       entitled to any additional NRD Offsets or other credits related to any additional
       restoration work performed with such retained funds.
   G. If implementation of the Early Restoration Project does not commence, as specified in
      Appendix A, by the end of the eighteenth (18th) month after the date all Parties have
      signed this Project Stipulation, unless the Parties agree otherwise, the Project Stipulation
      shall be void and the funds transferred pursuant to Paragraph 5 of the Framework
      Agreement and Paragraphs II.C. and II.D. of this Project Stipulation that have not been
      spent and remain unobligated, along with any accrued interest, shall remain in the
      account or accounts to which they have been transferred and only be used for another
      project under a new Project Stipulation agreed to by all the Parties under the terms of the
      Framework Agreement.
   H. Notwithstanding any provision of this Project Stipulation, if the cost of the Early
      Restoration Project exceeds the amount of funding stated in Paragraph II.A. above plus
      the Contingency Funding, the Parties may agree, in writing, to increase the amount of
      funding that BPXP will provide for the Early Restoration Project under this Project
      Stipulation from the Early Restoration Subaccount.


III.   NRD OFFSETS
   A. The natural resources and/or services predicted to result from the Early Restoration
      Project (“NRD Offsets”) are set forth in Appendix C, attached hereto and incorporated by
      reference. Trustee(s) whose resources are addressed in the Early Restoration Project, as
      designated by the Trustee Council in accordance with Paragraph 11 of the Framework
      Agreement, are also identified in Appendix C. To the extent the Parties anticipate that
      one or more NRD Offsets are likely to need to be scaled against injuries to one or more
      natural resources and/or services that are not of the same type or quality, and scaling
      factors have been agreed upon, Appendix C also includes those scaling factors. NRD
      Offsets shall be applied only to the injuries within the boundaries of the state or states in
      which the Early Restoration Project is implemented, or as otherwise provided in
      Appendix C.
   B. Terms used in the NRD Offsets that are defined in OPA or in 15 C.F.R. Part 990 shall
      have the meaning set forth in the statute or regulations, except where a different
      definition is provided in Appendix C or in Appendix D (Glossary of Terms), attached
      hereto and incorporated by reference, in which case the meaning provided in the
      applicable Appendix shall control.
   C. The Trustees, collectively and individually, shall credit all NRD Offsets against their
      assessment of total injury resulting from the Oil Spill as provided in the Framework
      Agreement.
   D. Upon full payment of the amount specified in Paragraph II.A., BPXP shall be entitled to
      the NRD Offsets set forth in Appendix C as provided in the Framework Agreement.
   E. The Trustees agree that the NRD Offsets set forth in Appendix C shall apply to the
      NRDA even if the Early Restoration Project does not achieve the anticipated results.


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      F. BPXP waives the right to claim that the Early Restoration Project provides benefits to
         natural resources or services beyond those identified in Appendix C, or provides benefits
         to Trustees other than those identified in Appendix C.
      G. Except as otherwise agreed to by the Parties, none of the terms of this Stipulation,
         including, without limitation, the amount of the NRD Offset and the methodology used to
         calculate the NRD Offset in this Project Stipulation, shall be used as precedent for any
         other restoration project. Furthermore, neither the amount of the NRD Offset nor the
         methodology used to calculate the NRD Offset shall be used as precedent for determining
         NRD Offsets or the benefits or effects of restoration in this or for any other case.
      H. Any NRD Offsets set forth in Appendix C shall be applied to reduce the Trustees’
         assessment of natural resource damages resulting from the Oil Spill in any civil litigation
         or other proceeding brought by the Trustees, individually or collectively, seeking natural
         resource damages. To the extent NRD Offsets have been applied as provided in the
         Framework Agreement by the Trustees in the assessment of total injury, then BPXP is
         not entitled to any further application of the NRD Offsets in litigation or other
         proceedings brought by the Trustees.


IV.      EFFECT OF STIPULATION
      A. This Project Stipulation is binding upon the Parties and their successors and assigns.
      B. Except as provided herein, the Parties make no admission of fact or law by entering into
         this Project Stipulation.
      C. The Trustees agree to incorporate this Project Stipulation into the Administrative Record
         for the Deepwater Horizon Natural Resource Damage Assessment.
      D. Within five (5) days of execution of this Project Stipulation, the United States, acting
         through the United States Department of Justice, counsel representing those State
         Trustees who are parties in the Deepwater Horizon Oil Spill Multi-District Litigation
         (“MDL”), and BPXP shall file a notice of this Project Stipulation, for informational
         purposes only, with the MDL Court in the form of Appendix E (Notice of Project
         Stipulation), attached hereto and incorporated by reference.
      E. The Trustees hereby covenant not to sue BPXP for claims for damages or injuries to or
         losses of natural resources resulting from the activities of the Trustees in implementing
         the Early Restoration Project.


V.       GENERAL PROVISIONS AND RESERVATIONS OF RIGHTS
      A. Except for the stipulated NRD Offsets and as set forth herein in Paragraph IV.E., this
         Project Stipulation shall not be construed to limit in any way the authority of the Trustees
         to perform assessments, engage in any restoration planning, or select and implement
         restoration projects; nor shall it require BPXP to fund any of these activities.
      B. This Project Stipulation shall not limit the Trustees’ rights to recover costs for reasonable
         oversight costs related to assessments, restoration planning activities, selection and
         implementation of restoration projects, or other reasonable costs as provided in 33


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      U.S.C. § 2706 including the Trustees’ costs associated with the selection of Early
      Restoration Projects, development of the Early Restoration Plan(s), and general non-
      project specific administration and monitoring of the early restoration process; provided,
      however, nothing in this Project Stipulation shall permit the Trustees to recover
      additional costs of implementation of the Early Restoration Project except in accordance
      with Paragraph II.H.
   C. Except for the stipulated NRD Offsets and as set forth herein in Paragraph IV.E., this
      Project Stipulation does not operate to release BPXP from any potential natural resource
      damage or other liability, and the Trustees reserve all other claims against BPXP and/or
      other parties related to natural resource damage liability or any other liability arising from
      the Oil Spill.
   D. Except for the stipulated NRD Offsets and as set forth herein in Paragraph IV.E., the
      Trustees reserve the right to use any appropriate methodologies for assessing natural
      resources injuries, for determining the natural resource damages and for planning and
      scaling restoration for the Oil Spill.
   E. Except with respect to the Early Restoration Project that BPXP has agreed to fund and
      the agreed upon NRD Offsets under this Project Stipulation, BPXP reserves all legal and
      evidentiary defenses it may have against any claim asserted by any Trustee, including,
      without limitation, any defenses related to natural resource damages arising from the Oil
      Spill, any natural resource damages assessment associated with the Oil Spill, and any
      methodologies the Trustees use to assess natural resources injuries, determine the natural
      resource damages claims, and in planning and scaling restoration. BPXP reserves all
      claims, cross-claims or counterclaims it may have against any person or entity not a party
      to this Stipulation.
   F. Except for the stipulated NRD Offsets and as set forth herein in Paragraph IV.E., the
      Trustees expressly reserve all claims, demands, and causes of action, either judicial or
      administrative, past or future, in law or equity, against any person or entity not a party to
      this Project Stipulation for any matter arising out of or in any way relating to the Oil
      Spill.
   G. The undersigned representative of each Party certifies that he or she is fully authorized to
      enter into the terms and conditions of this Project Stipulation and to execute and legally
      bind such Party to this document. This Project Stipulation may be signed in counterparts.


IN WITNESS WHEREOF, the undersigned Parties have executed and delivered this Project
Stipulation, effective as of the date of execution by all Parties.




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THE UNDERSIGNED PARTY enters into this Project Stipulation for the Alabama Dune
Restoration Cooperative Project in the matter of In re: Oil Spill by the Oil Rig
"Deepwater Horizon" in the Gulf of Mexico, on Aril 20, 2010, relating to the
Deepwater Horizon Oil Spill.
FOR THE UNITED STATES:


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Date
                                       U.S. Department of Justice
                                       Assistant Attorney General
                                       601 D Street, NW
                                       Washington, D.C. 20004




Date
                                        U.S. Department of the Interior




Date                                    CRAIG R. O'CONNOR
                                        National Oceanic and Atmospheric
                                        Administration
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 Date                                         GARRE  ET GRAVES    S
                                              Louisianna Coastal P
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                                              Restorattion Authoriity
                                              Chair
                                              P.O. Boox 94004,
                                              Baton R
                                                    Rouge, Louissiana 70804--9004

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               __________                     __________________________________
 Date                                         ROLAN  ND GUIDRY    Y
                                              Louisianna Oil Spill Coordinatorr’s Office
                                              Oil Spilll Coordinatoor
                                              P.O. Boox 66614
                                              Baton R
                                                    Rouge, Louissiana 70896


 ______5/23/12___
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 Date                                         PEGGY Y HATCH
                                              Louisianna Departmeent of Enviroonmental
                                              Quality
                                              Secretarry
                                              P.O. Boox 4301
                                              Baton R
                                                    Rouge, Louissiana 70821--4301


 _______________
               __________                     __________________________________
 Date                                         ROBER  RT BARHAM   M
                                              Louisianna Departmeent of Wildliife and
                                              Fisheriees
                                              Secretarry
                                              P.O. Boox 98000
                                              Baton RRouge, Louissiana 70898


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               __________                     __________________________________
 Date                                         SCOTT T ANGELLE   E
                                              Louisianna Departmeent of Naturaal Resourcess
                                              Secretarry
                                              P.O. Boox 94396
                                              Baton R
                                                    Rouge, Louissiana 70804--9396



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 THE UNDERSIGNED PARTY enters into this Project Stipulation for the Alabama Dune
 Restoration Cooperative Project in the matter of In re: Oil Spill by the Oil Rig
 “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, relating to the
 Deepwater Horizon Oil Spill.
 FOR THE STATE OF MISSISSIPPI:




 ______5/23/12__________                ____________________________________
 Date                                   TRUDY D. FISHER
                                        Mississippi Department of Environmental
                                        Quality
                                        Executive Director
                                        P.O. Box 2261
                                        Jackson, Mississippi 39225-2261




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 THE UNDERSIGNED PARTY enters into this Project Stipulation for the Alabama Dune
 Restoration Cooperative Project in the matter of In re: Oil Spill by the Oil Rig
 “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, relating to the
 Deepwater Horizon Oil Spill.
 FOR THE STATE OF TEXAS:




 _____5/24/12___________                ____________________________________
 Date                                   CARTER SMITH
                                        Texas Parks and Wildlife Department
                                        Executive Director
                                        4200 Smith School Road
                                        Austin, Texas 78744




 _______________________                _______________________________
 Date                                   LARRY L. LAINE
                                        Texas General Land Office
                                        Deputy Land Commissioner and Chief Clerk
                                        P. O. Box 12873
                                        Austin, Texas 78711-2873




 _______________________                ____________________________________
 Date
                                        Texas Commission on Environmental
                                        Quality




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                                          APPENDIX A

                           EARLY RESTORATION PROJECT


 Appendix A: Alabama Dune Restoration Cooperative
 Project

 1.0    INTRODUCTION

 This document describes the Alabama Dune Restoration Cooperative Project (the “Early
 Restoration Project”) to be implemented with funding provided by BPXP, resulting in the
 NRD Offset identified in Appendix C. This document is part of a Project Stipulation
 executed by BPXP, the Trustees, and the United States Department of Justice.

 2.0    PROJECT DESCRIPTION

 The Alabama Dune Restoration Cooperative Project would result in the formation of a
 partnership, the Coastal Alabama Dune Restoration Cooperative (CADRC), to restore
 dune habitat injured by the Deepwater Horizon oil spill and response efforts. The
 CADRC would restore approximately 55 acres of primary dune habitat in Alabama by
 planting native dune vegetation and installing sand fencing.




         Figure 1. Alabama Dune Restoration Cooperative Project planting/fencing areas.


 3.0    PROJECT IMPLEMENTATION

 3.1    Performance Criteria, Monitoring and Maintenance

 Consistent with section 3.2.5.4 of the Deepwater Horizon Oil Spill Phase I Early
 Restoration Plan and Environmental Assessment (“Plan”), the CADRC will monitor plant
 and fence installations to evaluate project success. The plantings will be monitored for

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 90-days to assess plant survival. CADRC members will monitor the effectiveness of the
 plantings and sand fence installation by tracking changes in dune expansion or
 establishment, consistent with said section.

 Project implementation will commence upon filing of the Notice of Project Stipulation
 with the MDL Court. Project implementation will be complete when the performance
 criteria consistent with section 3.2.5.4 of the Plan have been met.

 3.2       Estimated Budget – Alabama Dune Restoration Cooperative Project

       Cost Category                                                            Cost
       Project Implementation Base Cost (includes, without
       limitation, project planning, permitting, engineering design,
       construction, oversight, inspection, monitoring, and adaptive
       management, consistent with section 3.2.5.4 of the Plan)           $1,300,000
       Potential Contingency Amount, consistent with the provisions
       of Paragraph II.E.                                              Up to $180,000
                                                                                Up to
       Total Potential Project Costs
                                                                           $1,480,000




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                                     APPENDIX B

                           EARLY RESTORATION PLAN
 The Early Restoration Project is included in the Deepwater Horizon Oil Spill Phase I
 Early Restoration Plan and Environmental Assessment (the “Plan”), available at
 www.doi.gov/deepwaterhorizon, which was adopted by the Trustees after public review
 and comment. Public comments received on the Plan are summarized in the Plan, and
 Trustees’ responses to the comments are included. All public comments received on the
 Plan are included in full in the NRDAR Administrative Record for the Plan, which can be
 found at the same web address.




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                                      APPENDIX C

                                     NRD OFFSETS

 NRD Offsets are 240 discounted service acre years (“DSAYs”) of Primary Vegetated
 Dune Habitat in Alabama, which includes 132 DSAYs of Primary Vegetated Dune
 Habitat “A” in Alabama and 108 DSAYs of Primary Vegetated Dune Habitat “B” in
 Alabama. These Offsets are applicable to Primary Vegetated Dune Habitat injuries in
 Alabama, as determined by the Trustees’ total assessment of injury for the Oil Spill.

 For purposes of applying the NRD Offsets to the calculation of injury, the Parties agree
 as follows:

        (1) In the event that the injury determination for Primary Vegetated Dune Habitat
            in Alabama is characterized in the natural resource damages assessment using
            a metric other than DSAYs of Primary Vegetated Dune Habitat in Alabama,
            the Trustees agree to translate the agreed upon NRD Offsets into a currency
            consistent with the metric used to characterize the injury. Any necessary
            translation of the offsets will rely on the data and methods developed for the
            assessment and authorized in 15 C.F.R. Sections 990, et seq.

        (2) The Trustees agree that the comparison of injury to NRD Offsets must
            account for the baseline condition of the injured resource.

 For the purposes of Paragraph III.A. of this Project Stipulation, the Trustees whose
 resources are addressed by this Early Restoration Project are the Alabama Department of
 Conservation and Natural Resources, the Geological Survey of Alabama, NOAA and
 DOI.




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                                       APPENDIX D

                                 GLOSSARY OF TERMS


 These definitions are not considered to be a comprehensive list for all Early Restoration
 Projects under the Framework for Early Restoration Addressing Injuries Resulting From
 the Deepwater Horizon Oil Spill executed April 20, 2011. Future projects may require
 other definitions, including, but not limited to, other definitions for habitats included in
 this list.

 Dune Project Definition

 Primary Vegetated Dune Habitat is located along seaward, frontal dunes. This habitat
 is characterized by a mixture of open sandy areas, grasses, and forbs. The vegetative
 community typically is dominated by plants such as sea oats, panicgrass, beach morning-
 glory, and seashore elder.

       Primary Vegetated Dune Habitat “A” is utilized by the Alabama Beach Mouse,
        a federally listed endangered species.

       Primary Vegetated Dune Habitat “B” is not utilized by the Alabama Beach
        Mouse.

       Discounted Service Acre Years are expressed in present value 2011 service acre
        years.




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                             APPENDIX E

                  NOTICE OF PROJECT STIPULATION




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